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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA
CIVIL MINUTES — GENERAL

Case No. 2:20-cv-10534-MCS-E Date December 29, 2020

 

 

Title Noel Erfan v. Merz North America, Inc. et al.

 

Present: The Honorable Mark C. Scarsi, United States District Judge

 

 

Stephen Montes Kerr Not Reported
Deputy Clerk Court Reporter
Attorney(s) Present for Plaintiff(s): Attorney(s) Present for Defendant(s):
None Present None Present

Proceedings: (IN CHAMBERS) ORDER RE: MOTION TO REMAND (ECF No. 16)

Before the Court is a Motion to Remand (“Motion”) filed by Plaintiff Noel
Erfan. See Mot., ECF No. 16. The Motion demonstrates that the parties agree to
Plaintiff filing a First Amended Complaint which is pertinent to the Motion and
attached thereto as Exhibit 2. Jd. Plaintiff shall therefore file the First Amended
Complaint on or before December 30, 2020.

The Motion is DENIED as moot. Plaintiff may move to remand after filing
the First Amended Complaint.

IT IS SO ORDERED.

 

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